No witness actually saw the plaintiff fall to the ground. Two say they saw her attempting to board the defendant's bus, that the bus rolled slowly forward from one to three feet and stopped again shutting out their *Page 144 
vision of the plaintiff. One of them says he saw her falling back at an "angle of 20 degrees" and then lost sight of her. No one seems to have paid much attention to the incident. All the bus operators on duty that day at that place have testified no such incident occurred to their knowledge. No visible marks of injury were found upon the plaintiff by the doctor. He found, he says, areas of tenderness on pressure and that was all. The plaintiff's own account of the alleged fall is unsatisfactory and unconvincing.
It must be found she has failed to substantiate her complaint with a fair weight of evidence.
   Judgment is directed for the defendant.